                       CASE 0:09-cv-01319-DWF-RLE Doc. 6 Filed 07/29/09 Page 1 of 1
OAO450 (Rev. 5/85) Judgment in a Civil Case



                                     UNITED STATES DISTRICT COURT
                                              District of Minnesota

June Lake and Leroy Lake
                                                          JUDGMENT IN A CIVIL CASE
   V.
                                                                 Case Number: 09-1319 DWF/RLE
Redline Recovery Services, LLC


    Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
    has rendered its verdict.

X Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or
  heard and a decision has been rendered.

    IT IS ORDERED AND ADJUDGED THAT:

    the Complaint is dismissed on its merits with prejudice and without costs, disbursements or attorney fees to
    any party.



                         July 29, 2009                             RICHARD D. SLETTEN, CLERK
Date
                                                                               s/LP Holden
                                                          (By)                      LP Holden, Deputy Clerk




                                                                                                    Form Modified: 09/16/04
